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                Exhibit A to Joint Motion to Partially Unseal Record Documents Containing PII
                                                                              Redacted
                                                                                        Information
     Filing Date ECF No. Bates Number(s) Description                          Page
                                                                                        Redacted
                                                                              Number(s)
 1 5/13/2016 256-4                       Exh B                                          Phone numbers
 2 5/13/2016 256-5                       Exh C                                          Phone numbers
 3 5/13/2016 256-6                       Exh D                                          Phone numbers
 4 5/13/2016 256-7                       Exh E                                          Phone numbers
 5 8/31/2016 282-006                     Rayhill Exh 5                                  Phone numbers
 6 9/19/2016 294-004                     Grigsby Decl Exh A                             Phone numbers
 7 9/19/2016 294-013                     Grigsby Decl Exh J                             Phone numbers
 8 9/19/2016 294-014                     Grigsby Decl Exh K                             Phone numbers
 9 9/19/2016 294-015                     Grigsby Decl Exh L                             Phone numbers
10 9/27/2016 0303-6                      Rayhill Decl Exh 5                             Phone numbers
11 12/15/2016 320-003   ZFL-1014045      Rayhill Decl Exh 2                             Phone numbers
12 12/15/2016 320-004   ZFL-1014047      Rayhill Decl Exh 3                             Phone numbers
13 12/15/2016 320-005   ZFL-1014049      Rayhill Decl Exh 4                             Phone numbers
14 12/15/2016 320-007   ZFL-1014078      Rayhill Decl Exh 6                             Phone numbers
15 12/15/2016 320-008   ZFL-1014102      Rayhill Decl Exh 7                             Phone numbers
16 12/15/2016 320-009   ZFL-1014103      Rayhill Decl Exh 8                             Phone numbers
17 12/15/2016 320-010   ZFL-1845329      Rayhill Decl Exh 9                             Phone numbers
18 12/15/2016 320-011   ZFL-1845332      Rayhill Decl Exh 10                            Phone numbers
19 12/15/2016 320-012   ZFL-1845335      Rayhill Decl Exh 11                            Phone numbers
20 12/15/2016 320-013   ZFL-1845337      Rayhill Decl Exh 12                            Phone numbers
21 12/15/2016 320-018   ZFL-1014051      Rayhill Decl Exh 17                            Phone numbers
22 12/15/2016 320-020   ZFL-1845329      Rayhill Decl Exh 19                            Phone numbers
23   1/3/2017 329-003                    Exh B                                          Phone numbers
24   1/3/2017 329-004                    Exh C                                          Phone numbers
25 1/10/2017 334-003    ZFL-0989346      Exh 2                                          Phone numbers
26 1/10/2017 334-004    ZUF-00157681     Exh 3                                          Phone numbers
27 1/10/2017 334-005    ZFL-1845373      Exh 4                                          Phone numbers
                        LEPLAINTIFFS-                                                   Phone numbers
28     2/1/2017 347-003 0048763       Exh A                                   779, 781  and PII
                        LEPLAINTIFFS-                                                   Phone numbers
29     2/1/2017 347-004 004894 7      Exh B                                   952, 953  and PII
30     2/1/2017 347-005 ZFL-0390586   Exh C                                   590       PII
                                                                              050, 052, Phone numbers
31     2/1/2017 347-006 ZFL-0003037      Exh D                                066, 068  and PII
                                                                                        Phone numbers
32     2/1/2017 347-008 ZFL-0003087      Exh F                                101, 104  and PII
                                                                                        Phone numbers
33    2/1/2017 347-012 ZFL·0003197       Exh J                                          and PII
34 3/24/2017 365-017 ZFL-1843874         Weiler Decl Exh 14                             Phone numbers
35 3/24/2017 365-021 ZFL-2490106         Weiler Decl Exh 18                             Phone numbers
36    5/9/2017 397                       Ps Mem. ISO Mot. Compel              17, 21    Phone numbers
37 5/24/2017 409-004                     Exh B                                          Phone numbers
38 5/24/2017 409-008                     Exh F                                          Phone numbers
39 6/30/2017 443-003                     Weiler Decl Exh 2                              Phone numbers
40 6/30/2017 443-017                     Weiler Decl Exh 16                             Phone numbers
41 6/30/2017 443-018                     Weiler Decl Exh 17                             Phone numbers
42 Intentionally left blank
43 6/30/2017 443-020 ZFL-2701711         Weiler Decl Exh 19                             Phone numbers
44 6/30/2017 443-021 ZFL-2701752         Weiler Decl Exh 20                             Phone numbers
45 7/24/2017 464-009 ZFL-2700730         Saveri Decl Exh 8                              Phone numbers
46 8/31/2017 484-013 ZFL-2701627         Maysey Decl Exh 12                             Phone numbers
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47   8/31/2017 484-016 ZFL-2701700      Maysey Decl Exh 15                  Phone numbers
48   2/16/2018 518-03                   Ex. 1                 p. 186        Phone number
49   2/16/2018 518-04                   Ex. 2                               Phone number
50   2/16/2018 518-05                   Ex. 3                 p. 95         Phone number
51   2/16/2018 518-08                   Ex. 6                               Phone number
52   2/16/2018 518-09                   Ex. 7                               Phone number
     2/16/2018 518-21                   Ex. 19                pp. 3, 4, 7, Phone numbers
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53                                                                          information
54   2/16/2018 518-29    ZFL-1376378    Ex. 27                              Phone numbers
55   2/16/2018 518-35    ZUF-00031544   Ex. 33                              Phone numbers
     2/16/2018 518-38    ZUF-00296703   Ex. 36                              Medical
56                                                                          information
57   2/16/2018 518-44                   Ex. 42                              Phone numbers
      4/6/2018 534-4                    Ex. 50                pp. 3, 4, 10, Phone numbers
                                                              19            and medical
58                                                                          information
59    4/6/2018 534-21    ZFL-1872579    Ex. 67                              Phone numbers
60    4/6/2018 534-23    ZFL-2497585    Ex. 69                              Phone numbers
61    4/6/2018 534-24    ZFL-2536695    Ex. 70                              Phone number
62    4/6/2018 534-38    ZUF-00113209   Ex. 84                p. 10         Phone number
63    4/6/2018 540-013                  Exh 9                               Medical
64    4/6/2018 540-020                  Exh 16                              Medical
65    4/6/2018 540-023                  Exh 19                              Phone numbers
66    4/6/2018 540-024                  Exh 20                              Phone numbers
67    4/6/2018 540-039   ZFL-2188045    Exh 35                1             Phone numbers
      4/6/2018           LEPLAINTI FFS-
68             540-049   0042863        Exh 45                18, 22      Phone numbers
      4/6/2018                                                            Phone number and
69             540-050   Z.E._002623    Exh 46                16, 18      PII
70    4/6/2018 540-051   Z.E._002594    Exh 47                17, 19      PII
71    4/6/2018 540-059   ZFL-0876450    Exh 55                1           Phone numbers
      4/6/2018                                                            Account numbers
                                                                          and phone
72             540-071   ZFL-0493435    Exh 67                18          numbers
73    4/6/2018 540-074   ZFL-1489313    Exh 70                1-4         Phone numbers
74    4/6/2018 540-098   Z.E._001174    Exh 94                1           Phone numbers
75    4/6/2018 540-102   ZFL-0001960    Exh 98                18          Phone numbers
76    4/6/2018 540-103   ZFL-2655937    Exh 99                19          Phone numbers
77    4/6/2018 540-104   ZFL-0133858    Exh 100               18          Phone numbers
78    4/6/2018 540-105   ZFL-0200442    Exh 101               17          Phone numbers
79    4/6/2018 540-106   ZFL-0158480    Exh 102               22          Phone numbers
80    4/6/2018 540-107   ZFL-0154198    Exh 103               22          Phone numbers
81    4/6/2018 540-108   ZFL-2655805    Exh 104               24          Phone numbers
82    4/6/2018 540-110   ZFL-0 146240   Exh 106               20          Phone numbers
83    4/6/2018 540-111   ZFL-0393668    Exh 107               23          Phone numbers
84    4/6/2018 540-112   ZFL-0039043    Exh 108               20          Phone numbers
85    4/6/2018 540-117   ZFL-2681122    Exh 113               20          Phone numbers
86    4/6/2018 540-132   ZFL-0177190    Exh 128               18, 23      Phone numbers
87    4/6/2018 540-133   ZFL-0492672    Exh 129               7           Phone numbers
88    4/6/2018 540-134   ZFL-0477077    Exh 130               5           Phone numbers
89    4/6/2018 540-135   ZFL-1367368    Exh 131                           Phone numbers
90    4/6/2018 540-136   ZFL-0246 190   Exh 132               6           Phone numbers
      4/6/2018                                                            Bank account
91             540-137   ZFL-1560180    Exh 133               1, 11, 14   information
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 92    4/6/2018 540-140 ZFL-0535724     Exh 136                6           Phone numbers
 93   6/18/2018 558-021 ZFL-1897652     Exh 19                             Phone numbers
 94   7/30/2018 574-04 ZFL-12449194     Exh 3                              Phone number
 95   7/30/2018 574-08                  Exh 7                              Phone number
      7/30/2018 574-19                  Exh 18                 p. 3        Medical
 96                                                                        information
      7/30/2018 574-48   ZFL-0522826    Ex. 47                 p. 19, 24;  Phone numbers
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                                                               redactions
 97                                                            on p. 21
 98   7/30/2018 574-50                  Exh 49                 p. 180       Phone number
 99   7/30/2018 575-01                  Exh 52                 p. 9         Phone number
      7/30/2018 575-02   ZFL-0105053    Exh 53                 pp. 24, 27 Phone numbers,
                                                                            address, SSN,
100                                                                         passport number
      7/30/2018 575-03   ZFL-0414108    Ex. 54                 p. 16,       Phone numbers
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                                                               redaction
101                                                            on p. 18
      7/30/2018 575-04   ZFL-0504184    Ex. 55                 pp. 19, 24; Phone numbers
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102                                                            on p. 21
      7/30/2018 575-08   LEPLAINTIFFS- Ex. 59                  pp. 2, 26, Phone numbers,
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                                                               redaction
103                                                            on p. 8
      7/30/2018 575-09   Z.E._002617    Ex. 60                 2, 5;        Phone numbers,
                                                               existing PII home address
                                                               redactions
104                                                            on p. 5, 6
105   7/30/2018 575-11   ZFL-12445923   Ex. 62                              Phone number
106   7/30/2018 575-12   ZFL-2429202    Ex. 63                              Phone number
107   7/30/2018 575-15   Z.E. 001891    Ex. 66                              Phone number
108   7/30/2018 575-19                  Ex. 70                              Phone number
      7/30/2018 575-29                  Ex. 80                 p. 44        Phone numbers,
109                                                                         home address
110   7/30/2018 575-30   ZFL-0489704    Ex. 81                              Phone number
111   7/30/2018 575-33   ZFL-2252819    Ex. 84                              Phone number
      7/30/2018 575-39   Z.E._002623    Ex. 90                 pp. 16, 18; Phone number,
                                                               existing PII home address,
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112                                                            on p. 18
113   7/30/2018 575-52   ZFL‐2699696    Ex. 103                             Phone number
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115   9/21/2018 596-03                  Ex. 1                  p. 186       Phone number
116   9/21/2018 596-04                  Ex. 2                  p. 180       Phone number
      9/21/2018 596-07                  Ex. 5                  p. 95        Phone
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117                                                                         address
118   9/21/2018 596-10                  Ex. 8                  pp. 66-68 Phone number
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      9/21/2018 596-42   ZFL-0827903      Ex. 40                             Medical
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123   9/21/2018 596-43   ZFL-0872344      Ex. 41                             Phone number
124   9/21/2018 596-44   ZFL-0872351      Ex. 42                             Phone number
125   9/21/2018 596-45   ZFL-0990908      Ex. 43                             Phone number
126   9/21/2018 596-48   ZFL-1096310      Ex. 46                             Phone number
127   9/21/2018 596-52   ZFL-1404974      Ex. 50                             Phone number
128   9/21/2018 596-57   ZFL-1872579      Ex. 55                             Phone number
129   9/21/2018 596-58   ZFL-1873428      Ex. 56                             Phone number
130   9/21/2018 596-59   ZFL-1874637      Ex. 57                             Phone number
      9/21/2018 596-60   ZFL-1897652      Ex. 58                             Phone number
131                      (excerpted)
132   9/21/2018 596-61   ZFL-1904802      Ex. 59                             Phone number
133   9/21/2018 596-62   ZFL-1911498      Ex. 60                             Phone number
134   9/21/2018 596-64   ZFL-2193553      Ex. 62                             Phone number
135   9/21/2018 596-72   ZFL-2477398      Ex. 70                             Phone number
      9/21/2018 596-73   ZFL-2496215      Ex. 71                             Phone number and
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137   9/21/2018 596-74   ZFL-2497585      Ex. 72                             Phone number
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139   9/21/2018 596-78   ZFL-2536695      Ex. 76                             Phone number
140   9/21/2018 596-79   ZFL-2544572      Ex. 77                             Phone number
141   9/21/2018 596-81   ZFL-2757165      Ex. 79                             Phone number
142   9/21/2018 596-82   ZFL-2764805      Ex. 80                             Phone number
143   9/21/2018 596-83   ZFL-12535916     Ex. 81                             Phone number
      9/21/2018 596-85   ZUF-00031544     Ex. 83                             Phone number and
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146   9/21/2018 596-92 ZUF-00296965       Ex. 90                             Phone number
147   9/21/2018 596-95 ZUF-00395941       Ex. 93                             Phone number
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148                     0013978
      9/21/2018 596-121 WME_ZUFFA_0       Ex. 119              p. 12         Phone number
149                     0031950
      9/21/2018 596-122 Z.E._006755       Ex. 120                            Phone number and
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      9/21/2018 596-125 Hendrick 30(b)(6) Ex. 123                            Phone number
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      9/21/2018 596-126 J. Silva Ex. 8    Ex. 124                            Phone number and
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      9/21/2018 596-129 J. Silva Ex. 14   Ex. 127                                    Phone number
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      9/21/2018 596-130 J. Silva Ex. 16   Ex. 128                                    Medical
156                     (ZFL-1012702)                                                information
      9/21/2018 596-131 J. Silva Ex. 26   Ex. 129                                    Phone number
157                     (ZFL-2287140)
      9/21/2018 596-132 J. Silva Ex. 28   Ex. 130                                    Medical
158                     (ZFL-0827903)                                                information
      9/21/2018 596-133 J. Silva Ex. 29   Ex. 131                                    Phone number
159                     (ZFL-2497582)
      9/21/2018 596-135 J. Silva Ex. 45   Ex. 133                                    Phone number
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      9/21/2018 596-136 Quinn Ex. 3 (ZFL- Ex. 134                                    Phone numbers
                        2699678)                                                     and medical
161                     (excerpted)                                                  information
                                                                                     Medical
162    8/2/2019 710                       Notice Regarding August 26, 2019 Hearing   information
                                                                                     Medical
163    8/2/2019 711                       Notice Regarding August 26, 2019 Hearing   information
